Case 19-40502      Doc 12     Filed 02/13/19     Entered 02/13/19 00:01:32         Main Document
                                               Pg 1 of 8
                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 In re:                                        )
                                               )      Case No. 19-40502
 JOHN and MICHELLE YERKEY                      )      Chapter 13
 Debtors                                       )      Hearing Date: 4/3/19
                                               )      Hearing Time: 10:00 AM
                                               )      Hearing Location: 5 North

                                       CHAPTER 13 PLAN

   1.1     A limit on the dollar amount of a secured claim, which         Included
           may result in a partial payment or no payment at all         X Not Included
           to the secured creditor.
   1.2     Avoidance of a judicial lien or nonpossessory,                 Included
           nonpurchase-money security interest.                         X Not Included
   1.3     Nonstandard provisions set out in Part 5.                      Included
                                                                        X Not Included

 Part 1.        NOTICES

 TO DEBTORS: This form sets out options that may be appropriate in some cases, but the
 presence of an option does not indicate that the option is appropriate in your circumstances or that
 it is permissible in the Eastern District of Missouri. Plans that do not comply with local rules
 and judicial rulings may not be confirmable.

 TO CREDITORS: Your rights may be affected by this plan. Your claim may be reduced,
 modified, or eliminated. You should read this plan carefully and discuss it with your attorney, if
 you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult
 one. If you oppose the plan’s treatment, you or your attorney must file an objection to confirmation
 in accordance with the Eastern District of Missouri Local Bankruptcy Rule 3015. The Bankruptcy
 Court may confirm this plan without further notice if no objection to confirmation is filed. YOU
 MUST FILE A TIMELY PROOF OF CLAIM IN ORDER TO PARTICIPATE IN
 DISBURSEMENTS PROPOSED IN THE PLAN. CLAIMS SHALL SHARE ONLY IN
 FUNDS DISBURSED AFTER THE CHAPTER 13 TRUSTEE RECEIVES THE CLAIM.

 Part 2.        PLAN PAYMENTS AND LENGTH OF PLAN

 2.1    Plan Payments. Debtor is to make regular payments to the Chapter 13 Trustee as
 follows:

    (A) $1,432 per month for 60 months.

    (B) $_____ per month for ___ months, then $____ per month for ____ months, then
    $__________ per month for ________ months.
Case 19-40502        Doc 12    Filed 02/13/19     Entered 02/13/19 00:01:32           Main Document
                                                Pg 2 of 8
   (C) A total of $_____ through ____________, then $______ per month for ___ months
   beginning with the payment due in _____________, 20__.

 2.2     Tax Refunds. Within fourteen days after filing federal and state income tax returns,
 Debtor shall provide the Chapter 13 Trustee with a copy of each return required to be filed
 during the life of the plan. The Debtor shall send any tax refund received during the pendency
 of the Chapter 13 case to the Trustee; however, Debtor may retain a portion of a tax refund to
 pay income taxes owed to any taxing authority for the same period as the refund. Debtor may
 also retain $1,250 for single filers or $1,500 for joint filers and refundable tax credits consisting
 of Earned Income Credit (EIC) and Additional Child Tax Credit, each year.

 2.3   Additional Lump Sums. Debtor shall send additional lump sum(s) consisting of
 _________, if any, to be paid to the Trustee.

 Part 3.          DISBURSEMENTS

 Creditors shall be paid in the following order and in the following fashion. Unless stated otherwise,
 the Chapter 13 Trustee will make the payments to creditors. All disbursements by the Trustee will
 be made pro-rata by class, except per month disbursements described below. However, if there are
 funds available after payment of equal monthly payments in paragraph 3.5 and fees in paragraph
 3.6, those funds may be distributed again to those same paragraphs until paid in full before
 distributing to the next highest paragraphs:

 3.1       Trustee. Pay Trustee a percentage fee as allowed by law.

 3.2    Executory Contract/Lease Arrearages. Trustee will cure pre-petition arrearage on any
 executory contract accepted in paragraphs 3.3(A) or (B) over the following period, estimated as
 follows:

   CREDITOR NAME                TOTAL AMOUNT DUE                CURE PERIOD (6 months or less)




 3.3       Pay the following sub-paragraphs concurrently:

   (A) Post-petition real property lease payments. Debtor assumes executory contract for real
   property with the following creditor(s) and proposes to maintain payments (which the Debtor
   shall pay) in accordance with terms of the original contract as follows:

   CREDITOR NAME                MONTHLY PAYMENT


   (B) Post-petition personal property lease payments. Debtor assumes executory contract for
   personal property with the following creditor(s) and proposes to maintain payments (which the
   Trustee shall pay) in accordance with terms of the original contract as follows:

   CREDITOR NAME                MONTHLY PAYMENT                 EST MONTHS REMAINING




                                                    2
Case 19-40502       Doc 12    Filed 02/13/19     Entered 02/13/19 00:01:32         Main Document
                                               Pg 3 of 8
  (C) Continuing Debt Payments (including post-petition mortgage payments on real estate,
  other than Debtor's residence.) Maintain payments of the following continuing debt(s) in
  accordance with terms of the original contract with any arrearages owed at the time of filing to
  be cured in paragraph 3.5(A). Trustee shall make payments in the amount listed below or as
  adjusted by the creditor under terms of the loan agreement.

  CREDITOR NAME                            MONTHLY PAYMENT



  (D) Post-petition mortgage payments on Debtor's residence. Payments due post-filing on
  debts secured by liens on Debtor’s residence shall be paid at the monthly amount listed below
  (or as adjusted by creditor under terms of loan agreement) to:

  CREDITOR NAME                            MONTHLY PAYMENT                BY DEBTOR/TRUSTEE
  BSI Financial Services                   $708.19                        By Trustee

  (E) DSO Claims in equal installments. Pay pre-petition domestic support obligation arrears
  (not provided for elsewhere in the plan) in full in equal monthly installments over the life of the
  plan, estimated as:

  CREDITOR NAME                            TOTAL AMOUNT DUE               INTEREST RATE


 3.4   Attorney Fees. Pay Debtor's attorney $2,400 in equal monthly payments over 18 months.
 Any additional fees allowed by the Court shall be paid pursuant to paragraph 3.6 below.

 3.5    Pay the following sub-paragraphs concurrently:

  (A) Pre-petition arrears on secured claims paid in paragraph 3.3. Pay pre-petition
  arrearage on debts paid under paragraphs 3.3(C) or (D) in equal monthly installments over the
  period set forth below and with the interest rate identified below, estimated as follows:

  CREDITOR NAME                    TOTAL AMOUNT DUE           CURE PERIOD         INTEREST RATE
  BSI Financial Services               $27,000                48 months           0%

  (B) Secured claims to be paid in full. The following claims shall be paid in full in equal
  monthly payments over the period set forth below with 6.75% interest:

  CREDITOR                         EST BALANCE DUE        REPAY PERIOD        TOTAL w/ INTEREST
                                       $                  60 months              $




                                                  3
Case 19-40502      Doc 12     Filed 02/13/19     Entered 02/13/19 00:01:32        Main Document
                                               Pg 4 of 8
  (C) Secured claims subject to modification. Pay all other secured claims the fair market
  value of the collateral, as of the date the petition was filed, in equal monthly payments over the
  period set forth below with 6.75% interest and with any balance of the debt to be paid as non-
  priority unsecured debt under paragraph 3.9(A), estimated as set forth below. If no period is
  set forth below for a claim to be paid under this paragraph, the claim will be paid over the plan
  length.

  CREDITOR                 BALANCE DUE         FMV         REPAY PERIOD      TOTAL w/ INTEREST
  MSD                         $2,697           $75,000                          $3,185
  Pleasant Hollow HOA         $2,408           $75,000                          $2,844

  (D) Co-debtor debt paid in equal monthly installments. The following co-debtor claims
  to be paid by Trustee or by the co-debtor as noted below. If paid by Trustee, such claim shall
  be paid in equal monthly installments over the period and with interest as identified below:

  CREDITOR               EST BALANCE      TRUSTEE/CO-DEBTOR          PERIOD      INTEREST RATE
                         $                Co-Debtor

  (E) Post Petition Fees and Costs. Pay any post-petition fees and costs as identified in a notice
  filed pursuant to Federal Rule of Bankruptcy Procedure 3002.1 as a supplement to an allowed
  claim or any other post-petition fees and costs which the Court allows and orders the Trustee to
  pay. Any such amounts shall be paid in equal monthly payments over the remainder of the plan
  duration and shall not receive interest.

 3.6    Additional Attorney Fees. Pay $2,400 of Debtor's attorney's fees and any additional
 Debtor's attorney's fees allowed by the Court.

 3.7   Pay sub-paragraphs concurrently:

  (A) Unsecured Co-debtor Guaranteed Claims. The following unsecured co-debtor
  guaranteed debt to be paid by Trustee or by the co-debtor as noted below. If paid by Trustee,
  pay claim in full with interest rate as identified below:

  CREDITOR NAME                EST TOTAL DUE             TRUSTEE/CO-DEBTOR       INTEREST RATE


  (B) Assigned DSO Claims. Domestic support obligation arrearages assigned to, or
  recoverable by, a governmental unit, will be paid a fixed amount with the balance to be owed
  by Debtor after completion of the Plan, pursuant to §§ 507(a)(1)(B) and 1322(a)(4). Regular
  payments that become due after filing shall be paid directly by Debtor:

  CREDITOR                     TOTAL DUE                      TOTAL AMOUNT PAID BY TRUSTEE




                                                  4
Case 19-40502         Doc 12    Filed 02/13/19     Entered 02/13/19 00:01:32       Main Document
                                                 Pg 5 of 8
 3.8     Priority Claims. Pay priority claims allowed under § 507 that are not addressed elsewhere
 in the plan in full, estimated as follows:
           CREDITOR NAME                         TOTAL AMOUNT DUE


 3.9       Pay the following sub-paragraphs concurrently:

  (A) General Unsecured Claims. Pay non-priority, unsecured creditors. Estimated total owed:
  $7,659. Amount required to be paid to non-priority unsecured creditors as determined by
  §1325(a)(4) hypothetical Chapter 7 liquidation calculation: $0. Amount required to be paid to
  nonpriority unsecured creditors as determined by §1325(b) calculation: $0. Debtor guarantees
  a minimum of $0 (Dollar amount or 100%) will be paid to non-priority unsecured creditors.

   (B) Surrender of Collateral. Debtor proposes to surrender the following collateral to the
   following creditors. (Choose one).
           ☐ Any deficiency shall be paid as non-priority unsecured debt.
           ☐ The Trustee shall stop payment on the creditor's claim until such time as the creditor
           files an amended claim showing the secured and unsecured deficiency (if any) still owed
           after sale of the surrendered collateral.

           CREDITOR                              COLLATERAL


   (C) Rejected Executory Contracts/Leases. Debtor rejects the following executory contracts
   with the following creditors. Any balance will be paid as non-priority unsecured debt:

           CREDITOR                              CONTRACT/LEASE


 Part 4.          OTHER STANDARD PLAN PROVISIONS

 4.1    Absent a specific order of the Court to the contrary, the Chapter 13 Trustee, rather than
 the Debtor, will make all pre-confirmation disbursements pursuant to § 1326(a).

 4.2      All creditors entitled to pre-confirmation disbursements, including lease creditors, must
 file a proof of claim to be entitled to receive payments from the Chapter 13 Trustee.

 4.3    The proof of claim shall control the valuation of collateral and any valuation stated in the
 plan shall not be binding on the creditor.

 4.4     The Trustee, in the Trustee’s sole discretion, may determine to reserve funds for payment
 to any creditor secured by a mortgage on real estate pending filing of a claim.

 4.5       Any post-petition claims filed and allowed under § 1305 may be paid through the plan.

 4.6    Debtor is not to incur further credit or debt without the consent of the Court unless
 necessary for the protection of life, health or property and consent cannot be obtained readily.




                                                   5
Case 19-40502        Doc 12     Filed 02/13/19     Entered 02/13/19 00:01:32          Main Document
                                                 Pg 6 of 8
 4.7     All secured creditors shall retain the liens securing their claims until the earlier of the
 payment of the underlying debt determined under non-bankruptcy law or discharge under             §
 1328. However, Debtor will request avoidance of non-purchase money liens secured by
 consumer goods as well as judicial liens which impair exemptions and said creditors will not
 retain their liens if the court enters an order granting Debtor's request to avoid the liens.

 4.8     Any pledged credit union shares or certificates of deposit held by any bank shall be applied
 to the amount owed such claimant.

 Part 5.         NONSTANDARD PLAN PROVISIONS

 Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard
 provision is a provision not otherwise included in the Official Form or Local Form or deviating
 from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

 The following plan provisions will be effective only if there is a check in the box “included” in
 Part 1 of this Plan:

 5.1




 5.2




 Part 6.         VESTING OF PROPERTY OF THE ESTATE

 6.1       Title to Debtor's property shall re-vest in Debtor(s) upon confirmation.

 Part 7.         CERTIFICATION

 The debtors and debtors attorney, if any, certify that the wording and order of the provisions
 in this Plan are identical to those contained in Official Local Form 13 of the Eastern District of
 Missouri, other than any Nonstandard Plan Provisions in Part 5.


 DATE: 1/29/19                          DEBTOR: /s/ John Yerkey


 DATE: 1/29/19                          DEBTOR: /s/ Michelle Yerkey




                                                   6
Case 19-40502      Doc 12     Filed 02/13/19     Entered 02/13/19 00:01:32        Main Document
                                               Pg 7 of 8




 DATE: 2/13/19
                                               Jason D. Fauss, #57734MO
                                               The Fauss Law Firm, LLC
                                               11965 St. Charles Rock Rd., Suite. 202
                                               St. Louis, MO 63044
                                               Tel: 314-291-8899 / Fax: 314-739-1355
                                               Jason@Fausslaw.com
                                               ATTORNEY FOR DEBTOR(S)

                                 CERTIFICATE OF SERVICE

 I certify that a true and correct copy of the foregoing document was filed electronically on
 February 13, 2019 with the United States Bankruptcy Court, and has been served on the parties
 in interest via e-mail by the Court’s CM/ECF System as listed on the Court’s Electronic Mail
 Notice List. In addition to those parties served with this document by the Court’s CM/ECF
 system, I certify that a true and correct copy of the foregoing document has been served by
 Regular United States Mail Service, first class, postage fully pre-paid, addressed to the parties
 listed below.




                                               Jason D. Fauss, #57734MO
                                               The Fauss Law Firm, LLC
                                               11965 St. Charles Rock Rd., Suite. 202
                                               St. Louis, MO 63044
                                               Tel: 314-291-8899 / Fax: 314-739-1355
                                               Jason@Fausslaw.com
                                               ATTORNEY FOR DEBTOR(S)




                                                  7
                                                                          Case 19-40502             Doc 12   Filed 02/13/19      Entered 02/13/19 00:01:32 Main Document
                                                                   Account Resolution Corporation
                                                                                                                              Pg   8 of 8
                                                                                                             Account Resolution Services          Ameren Missouri
                                                                   700 Goddard Avenue                        PO Box 459079                           PO Box 66881
                                                                   Chesterfield, MO 63005-0000               Sunrise, FL 33345-9079                  Saint Louis, MO 63166-6881




                                                                   BSI Financial Services                    Charter Communications                  Consumer Adj Company
                                                                   PO Box 679002                             PO Box 790086                           4121 Union Road, Ste 201
                                                                   Dallas, TX 75267-9002                     St. Louis, MO 63179                     St. Louis, MO 63129




                                                                   Credit Management LP                      Marinosci Law Group of Missouri P.C.    Mercy Virtual Business Office
                                                                   PO Box 118288                             1512 Main St Ste 130                    1730 E Portland
                                                                   Carrollton, TX 75011-8288                 Grandview, MO 64030-4831                Springfield, MO 65804-0000




                                                                   Metropolitan St. Louis Sewer District     Missouri Department Of Revenue          NCO Financial
                                                                   2350 Market St                            301 West High Street                    507 Prudential Rd
                                                                   Saint Louis, MO 63103-2519                Harry S. Truman State Office Building   Horsham, PA 19044-2308
                                                                                                             Jefferson City, MO 65101
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                                                                   1725 Davinci Dr                           Saint Louis, MO 63128-3859              Columbia, SC 29221
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                                                                   Shawnee Mission, KS 66201-0957            St. Charles, MO 63302-0000
